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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page | of 2 (Page-2,Not-for Public Disclosure)

 

 

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UNITED STATES DISTRICT COURT 4U0."'

sil 2019 AUG 22 PM J2: 48
Southern District of Georgia

Augusta Division CLERK SJ), Hoda.
SO. fj IS + 4} “ ——
United States of America :
v. )
) Case No:  1:17CR00003-1
Johnny Bernard Willingham )
) USMNo: 21903-021
Date of Original Judgment: August 31, 2017 )
Date of Previous Amended Judgment: N/A ) Danny L. Durham
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [xX] the defendant [_] the Director of the Bureau of Prisons (_] the court under 18 U.S.C.

§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG $1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
(X]} DENIED. (GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to .

(See Page 2 for additional parts. Complete Parts | and I of Page 2 when motion is granted)

Except as otherwise provided, all provisions of the judgment dated | August 31,2017 shall remain in effect.

IT IS SO ORDERED. C M J
/ é a

Order Date: luge *? 20/9 dey

Effective Date: Dudley H. Bowen, Jr.
United States District Judge
(if different from order date) Printed name and title

  

Judge's signature
